     Case 2:19-cv-03648-JMA-AKT Document 5 Filed 06/24/19 Page 1 of 2 PageID #: 19




AO 440 (Rev. 06/12) Summons in a Civil Action


                                            UNITED STATES DISTRICT COURT
                                                            for the

                                                EASTERN DISTRICT OF NEW YORK

                                                                      )
Jesse Garcia, individually and on behalf of all others                )
similarly situated,                                                   )
                             Plaintiff(s)                             )
                                                                      )
                                                                      )   Civil Action No. 2:19-cv-03648 (JMA)(AKT)
                                   v.
                                                                      )
                                                                      )
MCU Holdings, LLC,                                                    )
                            Defendant(s)

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address)
   MCU Holdings, LLC
   C/O Mark R. Fenzel
   3200 NW 62nd Ave, Suite 204
   Margate, FL 33063

          A lawsuit has been filed against you.

        Within 21 days after service of this summons on you (not counting the day you received it) – or
60 days if you are the United States, or a United States agency, or an officer or employee of the United
States described in Fed. R. Civ. P. 12 (a)(2) or (3) – you must serve on the plaintiff an answer to the
attached complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer or
motion must be served on the plaintiff or plaintiff's attorney, whose name and address are:
                                                 BARSHAY SANDERS PLLC
                                            100 GARDEN CITY PLAZA, SUITE 500
                                                  GARDEN CITY, NY 11530

       If you fail to respond, judgment by default will be entered against you for the relief demanded in
the complaint. You also must file your answer or motion with the court.

                                                                 DOUGLAS C. PALMER
                                                                 CLERK OF COURT
        06/24/2019
Date: ______________________
                                                                 ________________________________________
                                                                          Signature of Clerk or Deputy Clerk

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)
   Case 2:19-cv-03648-JMA-AKT Document 5 Filed 06/24/19 Page 2 of 2 PageID #: 20




Civil Action No. 2:19-cv-03648 (JMA)(AKT)

                                        PROOF OF SERVICE
        (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

       This Summons for (name of individual and title, if any) _____________________________________
was received by me on (date) ____________________ .


       [ ] I personally served the summons on the individual at (place) __________________________
       ___________________________________________________ on (date) _______________; or
       [ ] I left the summons at the individual's residence or usual place of abode with (name) _______
       __________________________, a person of suitable age and discretion who resides there,
       on (date) ________________, and mailed a copy to the individual's last known address; or
       [ ] I served the summons on (name of individual) ______________________________ , who is
       designated by law to accept service of process on behalf of (name of organization) ______________
       _____________________________________ on (date) ________________ ; or
       [ ] I returned the summons unexecuted because ________________________________ ; or
       [ ] Other (specify):




       My fees are $ ___________ for travel and $ ___________ for services, for a total of $ __0.00__ .

       I declare under penalty of perjury that this information is true.


Date: ________________
                                                                     Server's signature


                                                                   Printed name and title




                                                                      Server's address

Additional information regarding attempted service, etc:
